Case 2:05-cv-06373-KDE Document 14 Filed 11/19/08 Page 1of 3

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

CHARLES FICHER CIVIL ACTION

VERSUS NO. 05-6373
BURL CAIN SECTION "N" (5)

ORDER AND REASONS

The Court, having considered the petition, the record, the
applicable law, the Report and Recommendation of the United States
Magistrate Judge, along with petitioner’s objections to the
Magistrate Judge's Report and Recommendation, hereby approves the
Report and Recommendation of the United States Magistrate Judge and
adopts it as its opinion in this matter with the following
modification.

With regard to petitioner’s claim 4), that the grand jury
which indicted him was unconstitutionally empaneled, the State, in
its Response (rec. doc. 10, p. 4), provides that the claim appears
to be “raised for the first time” in petitioner’s federal habeas
application. Petitioner, in his Traverse (rec. doc. 11, p. 2),
counters that the claim was raised in “a supplemental brief” for

post conviction relief. The Magistrate Judge, in her Report and
Case 2:05-cv-06373-KDE Document 14 Filed 11/19/08 Page 2 of 3

Recommendation (rec. doc. 12, p. 10), provides: “This court's
review of the pertinent record has uncovered no supplemental brief
for post-conviction relief nor has petitioner provided the court
with such a brief.” Petitioner, in his Objection (rec. doc. 13, Pp.
1), counters that his unconstitutionally empaneled grand jury claim
was “submitted in a supplemental brief to the Criminal District
Court for the Parish of Orleans....” Attached to petitioner’s
Objection is a pleading, “Memorandum in Support of Application for
Post Conviction Relief”, which petitioner allegedly filed with the
“Orleans Criminal District Court”. A review of said pleading
reveals that it contains petitioner’s argument that the grand jury
which indicted him was unconstitutionally empaneled.

It is well-established that a petitioner must exhaust his
available state court remedies before proceeding to federal court
for habeas relief. 28 U.S.C. §2254 (b) (1)-(3); Rose v. Lundy, 455
U.S. 509, 102 S. Ct. 1198, 71 L. Ed. 2d 379 (1982). Generally, the
exhaustion requirement is satisfied only when the grounds urged in
a federal petition were previously presented to the state's highest
court in a procedurally proper manner. Dupuy v. Butler, 837 F. 2d
699, 702 (5th Cir. 1988).

While petitioner, by virtue of his “Memorandum in Support of
Application for Post Conviction Relief”, may have raised his
unconstitutionally empaneled grand jury claim before the Criminal

District Court for the Parish of Orleans, petitioner’s action in
Case 2:05-cv-06373-KDE Document 14 Filed 11/19/08 Page 3 of 3

this regard is insufficient to satisfy the above-described
exhaustion requirement. In order to satisfy said requirement,
petitioner must have raised, in a procedurally proper manner, said
claim before the state’s highest court, the Louisiana Supreme
Court. Accordingly;

IT IS ORDERED that the petition of Charles Ficher for issuance
of a writ of habeas corpus under 28 U.S.C. §2254, is hereby DENIED

WITHOUT PREJUDICE due to petitioner’s failure to exhaust his state
court remedies. f
New Orleans, Louisiana, this /4 doy A f{prtusber. 2008.

UNITED STATEZ)DISTRICT JUDGE

 
  
 
